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                             No. 23-30445


          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT


   STATE OF MISSOURI; STATE OF LOUISIANA; AARON KHERIATY;
MARTIN KULLDORFF; JIM HOFT; JAYANTA BHATTACHARYA; JILL HINES,
                                           Plaintiffs-Appellees,
                                     v.
    JOSEPH R. BIDEN, JR.; VIVEK H. MURTHY; XAVIER BECERRA;
DEPARTMENT OF HEALTH & HUMAN SERVICES; ANTHONY FAUCI, et al.,
                                           Defendants-Appellants.


             On Appeal from the United States District Court
                 for the Western District of Louisiana


       EMERGENCY MOTION UNDER CIRCUIT RULE 27.3
              FOR A STAY PENDING APPEAL


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                 CERTIFICATE OF INTERESTED PERSONS

                                        Missouri v. Biden

      A certificate of interested persons is not required under Fifth Circuit Rule 28.2.1

as appellants are all governmental parties.



                                                  /s/ Daniel Winik
                                                  Daniel Winik
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      The government respectfully requests a stay pending appeal of the district court’s

preliminary injunction. We further request an immediate administrative stay to permit

the orderly resolution of this motion, and in any event request relief by July 24, 2023.

If the Court declines to grant a longer stay, it should at a minimum stay the injunction

for ten days to permit the Supreme Court to consider an application for a stay, should

the Solicitor General elect to file one. Plaintiffs oppose this motion.

                       INTRODUCTION AND SUMMARY

      One of the central prerogatives of the President and Executive Branch officials

is to speak to members of the American public—including American companies—

about how they can help mitigate threats to the Nation. From President Kennedy’s

exhortation for steel companies to lower their prices to President Trump’s efforts to

encourage companies to keep American jobs onshore, presidents and other officials

have long exercised the power of persuasion to advance their vision of the public

good. While the government may not coerce private parties to act on its behalf to

achieve indirectly what it could not do directly, courts have set a high threshold for

finding such coercion to give the government sufficient latitude to “advocate and de-

fend its own policies.” Board of Regents of the Univ. of Wis. Sys. v. Southworth, 529 U.S.

217, 229 (2000).

      Here, however, the district court issued a universal injunction with sweeping lan-

guage that could be read to prohibit (among other things) virtually any government

communication directed at social-media platforms regarding content moderation. The
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court’s belief that the injunction forbids only unconstitutional conduct, while protect-

ing the government’s lawful prerogatives, rested on a fundamentally erroneous concep-

tion of the First Amendment, and the court’s effort to tailor the injunction through a

series of carveouts cured neither the injunction’s overbreadth nor its vagueness.

       Consider, for example, the injunction’s prohibition against “urging, encouraging,

pressuring, or inducing” social-media platforms “in any manner” to moderate their con-

tent, A159. May federal officials respond to a false story on influential social-media

accounts with a public statement, or a statement to the platforms hosting the accounts,

refuting the story? May they urge the public to trust neither the story nor the platforms

that disseminate it? May they answer unsolicited questions from platforms about

whether the story is false if the platforms’ policies call for the removal of falsehoods?

No plausible interpretation of the First Amendment would prevent the government

from taking such actions, but the injunction could be read to do so.

       Or consider how that prohibition might apply to law-enforcement officials, who

routinely notify social-media companies of threats or other criminal activity on their

platforms. The injunction states that the government may “inform[] social-media com-

panies of postings involving criminal activity or criminal conspiracies,” A160, but what

if, in an investigation’s early stages, officials lack certainty whether a post rises to the

level of criminal activity?

       Or consider a possible White House Press Secretary statement, made shortly

after a natural disaster, that urges social-media platforms to act responsibly by

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disseminating only accurate information about the disaster because misinformation cir-

culating online could impede relief and response efforts. Would that statement be pro-

hibited, or does it fall within the allowance for “permissible public government speech

promoting government policies or views on matters of public concern,” A161?

      The injunction threatens to chill this wholly lawful conduct, and to place the

Judiciary in the untenable position of superintending the Executive Branch’s commu-

nications. It raises grave separation-of-powers concerns.

      The injunction reflects numerous legal errors. The district court adopted a the-

ory of state parens patriae standing that the Supreme Court has repeatedly rejected, in-

cluding as recently as last month. The court’s conclusion that the individual plaintiffs

have standing rests on a handful of past episodes of content moderation by private

actors, without any showing that any government action will cause future harm to plain-

tiffs. The court’s merits analysis reflects an insupportably broad view of what interac-

tions can make the government responsible for private parties’ actions. And the injunc-

tion vastly exceeds the court’s equitable powers. It forbids conduct having nothing to

do with plaintiffs, cannot be regarded as necessary to prevent irreparable harm, lacks

the requisite specificity, and will significantly and irreparably harm the government and

the public. This Court should stay it.

                                    STATEMENT

      1.       Social-media platforms allow billions of people to share content instanta-

neously around the globe. The unprecedented scope and speed of social-media

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communications has afforded many benefits. It has also presented significant hazards,

including the spread of harmful misinformation. Platforms have sought to address

these hazards, and thereby preserve the value of their products, by maintaining and

enforcing content-moderation policies. In March 2020, for example, Twitter amended

its content-moderation policies in response to the COVID-19 pandemic “to address

content that goes directly against guidance from authoritative sources of global and

local public health information.” A908-915. Twitter “is no longer enforcing” its

“COVID-19 misleading information policy” as of November 2022. A908.

       The federal government also has sought to mitigate these hazards, including by

calling attention to them so that the platforms can apply their own content-moderation

policies. For example, the FBI routinely shares with platforms intelligence regarding

accounts that appear to be used by foreign malign actors to influence the American

public, or by foreign terrorist organizations to recruit supporters. A938-939, 945.

       Senior government officials have spoken publicly about the harms that can arise

from the rapid spread of falsehoods through social media. In May 2021, for example,

the White House Press Secretary expressed the President’s view regarding social-media

platforms’ “responsibility” to “stop amplifying untrustworthy content, disinformation,

and misinformation, especially related to COVID-19, vaccinations, and elections.” The

White House, Press Briefing by Press Secretary Jen Psaki and Secretary of Agriculture Tom Vil-

sack (May 5, 2021), https://perma.cc/4ZGE-N9QL. But she emphasized that the Pres-

ident “believe[s] in First Amendment rights” and that “social media platforms need to

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make” “the decisions” regarding “how they address … disinformation” and “misinfor-

mation.” Id.

      2.       Plaintiffs—Missouri, Louisiana, and several individuals—claim that these

efforts to mitigate harms perpetuated online violated the First Amendment. The dis-

trict court allowed plaintiffs to take extensive discovery in support of their preliminary-

injunction motion. This Court twice intervened to stay depositions of high-level offi-

cials that the district court had authorized without the requisite showing of necessity.

Order, In re Murthy, No. 22-30697 (5th Cir. Jan. 5, 2023); Order, In re Murthy, No. 22-

30697 (5th Cir. Nov. 21, 2022).

      3.       On July 4, the district court entered a preliminary injunction, concluding

that seven groups of defendants coerced or significantly encouraged social-media plat-

forms to suppress speech, and “jointly participated” in the suppression of speech, in

violation of the First Amendment. A95-116. The court held that the plaintiff States

have standing principally on a parens patriae theory, predicated on the States’ assertion

of “two quasi-sovereign interests.” A122-123. The court additionally relied on the

application of content-moderation policies to a handful of posts made (or ostensibly

made) by state entities. A125. The court held that the individual plaintiffs have standing

on the theory that they had been subject to content moderation by platforms. A127-

128. The court identified no evidence that any federal official communicated with so-

cial-media platforms about any of plaintiffs’ content in particular.



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       The court determined that plaintiffs had satisfied the irreparable-injury require-

ment, based largely on its conclusion that plaintiffs had demonstrated standing and their

claims were not moot. A139-144. It devoted just two paragraphs to the balance-of-

equities and public-interest factors and concluded, without discussing the injunction’s

terms, that its injunction could be sufficiently specific and tailored. A144-145.

       The district court enjoined defendants (other than a handful against whom plain-

tiffs declined to seek preliminary relief) from engaging in ten types of communications

with social-media companies regarding their content-moderation policies and the ap-

plication of those policies. A159-160. The injunction prohibits defendants from,

among other things, “engaging in any communication of any kind with social-media

companies urging, encouraging, pressuring, or inducing in any manner” the “removal,

deletion, suppression, or reduction of content”; “urging” those companies “to change

their guidelines for removing” content; “flagging content or posts” for potential re-

moval or reduction; and “requesting content reports” from those companies. Id. These

prohibitions apply to “protected free speech.” A159.

       The order states that the injunction does not prohibit defendants from informing

social-media companies of postings involving criminal activity or conspiracies; “na-

tional security threats, extortion, or other threats posted on [their] platforms”; or certain

other categories of content. A160-161. The order also states that the injunction does

not prohibit “exercising permissible public government speech promoting government



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policies or views on matters of public concern,” but it leaves those terms undefined.

A161.

        Earlier today, the district court denied the government’s motion for a stay pend-

ing appeal, A1995-2007, and stated that the injunction was revised to redefine “pro-

tected free speech” as “speech which is protected by the Free Speech Clause … in ac-

cordance with the jurisprudence of the United States Supreme Court,” A2008.

                                     ARGUMENT

        A motion for stay pending appeal is governed by the four-factor test in Nken v.

Holder, 556 U.S. 418, 426 (2009). Each factor supports the government here.

I.      The Government Is Likely To Succeed On The Merits

        A.    Plaintiffs Lack Standing

        The district court determined that the plaintiff States have standing principally

on a parens patriae theory. A122-123. The court asserted that in Alfred L. Snapp & Son,

Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592 (1982), the “Supreme Court determined that

Puerto Rico had parens patriae standing to sue the federal government to safeguard its

quasi-sovereign interests.” A122. But Snapp stands for the opposite proposition. The

Court explained that “[a] State does not have standing as parens patriae to bring an action

against the Federal Government,” a principle inapplicable in Snapp itself only because

that case was filed “against private defendants.” 458 U.S. at 610 n.16. The Supreme

Court recently reaffirmed that States cannot bring parens patriae actions against the fed-

eral government. Haaland v. Brackeen, 143 S. Ct. 1609, 1640 (2023).


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       The district court reasoned that that rule does not apply to “‘quasi-sovereign-

interest suits.’” A137. But the Supreme Court has rejected suits based on the “two

quasi-sovereign interests” the district court identified. A123. The States’ asserted “in-

terest in safeguarding the free-speech rights of a significant portion of their respective

populations,” id., resembles the interest held insufficient in Brackeen—a State’s interest

in safeguarding the constitutional rights of “non-Indian families,” 143 S. Ct. at 1640

n.11. The Supreme Court described reliance on that interest as “a thinly veiled attempt

to circumvent the limits on parens patriae standing.” Id.

       The States’ asserted “interest in ensuring that they receive the benefits from par-

ticipating in the federal system” equally conflicts with the Supreme Court’s decisions in

Brackeen and in United States v. Texas, 599 U.S. __, 2023 WL 4139000 (June 23, 2023). In

Brackeen, the Court rejected Texas’s reliance on a perceived threat to its “‘promise to its

citizens that it will be colorblind in child-custody proceedings.’” 143 S. Ct. at 1640. And

in Texas, the Court rejected Texas’s similar theory that it could bring suit “‘to assure [its]

residents that they [would] have the full benefit of federal laws designed to address’ the

problems caused by criminal aliens that Congress has ordered detained,” Brief for Re-

spondents at 23, United States v. Texas, No. 22-58, 2022 WL 12591050 (U.S. Oct. 18,

2022). In any event, the States never explain how the conduct challenged here—federal

government communications with private parties—even implicates their “partici-

pati[on] in the federal system.”



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       The district court found that several individual posts—one by a state agency and

several (allegedly) by a sub-State entity in 2021, and another by an individual state leg-

islator at some unspecified time—had been subjected to content moderation. The

court identified no evidence tying those episodes to any federal intervention. And in

any event, a handful of years-old past injuries cannot confer standing to seek sweeping

forward-looking relief. “Past exposure to illegal conduct does not in itself show a pre-

sent case or controversy regarding injunctive relief ”; a plaintiff must show a “real and

immediate threat of repeated injury,” O’Shea v. Littleton, 414 U.S. 488, 495-496 (1974),

and the court identified no such threat. See also City of Los Angeles v. Lyons, 461 U.S. 95,

101-108 (1983).

       The district court likewise erred in holding that the individual plaintiffs estab-

lished standing by showing “a combination of past and ongoing censorship.” A127.

Plaintiffs largely assert harm from content-moderation actions taken by social-media

platforms in 2020 and 2021 based on policies that predated most of the government

actions at issue here. And all three plaintiffs who suggested that their social-media

accounts had been suspended now appear to have active accounts. See A929.

       Even if plaintiffs could surmount those problems, the prospect of future con-

tent-moderation actions against them could not support jurisdiction for the district

court to forbid a wide range of government agencies (including those having no interest

in the subjects about which plaintiffs sought to speak) from communicating with a wide

range of platforms (including those on which plaintiffs do not participate) about a wide

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range of topics (including speakers and subject matter other than plaintiffs and their

speech). See infra pt. II.B.

       B.      Plaintiffs Failed To Show A First Amendment Violation

       The district court likewise erred in holding that plaintiffs are likely to succeed on

the merits of their First Amendment claim.

       The government is entitled to “advocate and defend its own policies.” Board of

Regents, 529 U.S. at 229. Government officials can express views about the world—

including about whether expressive communications are false and harmful. Restricting

such expression would undermine the separation of powers and would impede First

Amendment values, rather than promoting them, by removing the government’s voice

from the marketplace of ideas.

       Courts have therefore recognized “that government officials do not violate the

First Amendment when they request that a private intermediary not carry a third party’s

speech so long as the officials do not threaten adverse consequences if the intermediary

refuses to comply.” O’Handley v. Weber, 62 F.4th 1145, 1158 (9th Cir. 2023). And courts

have “drawn a sharp distinction between attempts to convince and attempts to coerce,”

allowing the former though not the latter. Id.; see Louisiana Div. Sons of Confederate Vet-

erans v. City of Natchitoches, 821 F. App’x 317, 320 (5th Cir. 2020) (per curiam) (embracing

this distinction); see also, e.g., Peery v. Chicago Hous. Auth., 791 F.3d 788, 790 (7th Cir. 2015).

Legitimate attempts to persuade can include “forceful[]” criticism using “strong rheto-

ric.” Kennedy v. Warren, 66 F.4th 1199, 1208 (9th Cir. 2023); see also VDARE Found. v.

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City of Colorado Springs, 11 F.4th 1151, 1164 (10th Cir. 2021); X-Men Sec., Inc. v. Pataki,

196 F.3d 56, 68-72 (2d Cir. 1999); Penthouse Int’l, Ltd. v. Meese, 939 F.2d 1011, 1015-1016

(D.C. Cir. 1991).

       A different result may obtain when the government “has exercised coercive

power or has provided such significant encouragement, either overt or covert,” over a

private decision “that the choice must in law be deemed to be that of the [government].”

Blum v. Yaretsky, 457 U.S. 991, 1004 (1982). That may be true, as the district court rec-

ognized, if “the comments of a governmental official can reasonably be interpreted as

intimating that some form of punishment or adverse regulatory action will follow the

failure to accede to the official’s request.” A90. Thus, for example, the Supreme Court

held in Bantam Books, Inc. v. Sullivan, 372 U.S. 58 (1963), that an agency could not identify

certain books as “objectionable” in a notice to distributors that emphasized the agency’s

“duty to recommend … prosecution of purveyors of obscenity” and then follow up by

having a police officer visit to see what action was taken. Id. at 61-63.

       But generalized pressure is insufficient; the government must compel “the specific

conduct of which the plaintiff complains.” Blum, 457 U.S. at 1004 (emphasis added).

In Blum, for example, even though “nursing homes in [the State were] extensively regu-

lated,” id., and even though state regulations placed pressure on nursing homes to dis-

charge patients or transfer them to lower levels of care, the Supreme Court declined to

hold the State responsible for nursing homes’ specific “decision[s] to discharge or



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transfer particular patients” because they “ultimately turn[ed] on medical judgments

made by private parties.” Id. at 1008.

      The district court misapplied these precedents. As to coercion, the court deemed

the government’s actions unconstitutional even absent any threat of government sanc-

tion. For example, the court credited plaintiffs’ claim against the Centers for Disease

Control and Prevention (CDC) merely because social-media companies treated the

CDC’s views on scientific matters as authoritative, without identifying any threat of

sanction. A104-105.

      The only potential actions the district court identified as transforming the gov-

ernment’s requests into coercive threats were potential efforts to amend Section 230 of

the Communications Decency Act or to take antitrust action against social-media com-

panies. But the potential for the government to take measures that might harm the

social-media companies’ interests is unremarkable: Virtually every company in America

could be benefited or harmed by actions the government might take. General state-

ments about possible government actions—here, about Executive Branch support for

legislative enactments or for “better privacy protections and a robust anti-trust pro-

gram,” A22—cannot transform every request that any government actor makes into a

coercive threat.

      Similarly, none of the twenty-two “examples of coercion” that the court cobbled

together from various statements from White House officials, plucked out of context,

makes any threat. A97-99. The government may gather information and express policy

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views, and it is not unconstitutional to ask private companies questions (such as, “How

many times can someone show false COVID-19 claims before being removed?”) or to

express significant concerns about business decisions (for example, “We are gravely

concerned that your service is one of the top drivers of vaccine hesitancy[.]”). A98-99.

      Nor is it impermissible to request that particular posts or accounts be removed,

provided that the requests are not backed by threats of sanctions. The government can

call a social-media company’s attention to a doctored video “mak[ing] it sound as if the

First Lady were profanely heckling children,” A25, or “dispute a note added by Twitter

to one of President Biden’s tweets about gas prices,” A27, just as the White House press

office (like the press office of any private corporation) can call a newspaper reporter to

question a story’s accuracy. The district court identified no evidence suggesting that a

threat accompanied any request for the removal of content. Indeed, the order denying

the stay—presumably highlighting the ostensibly strongest evidence—referred to “a

series of public media statements” and a refusal to comment on a news story. A1999-

2000. Nor does the record suggest that the platforms felt they had no choice but to

comply with all governmental requests. See, e.g., A916-928 (emails from platforms de-

clining to moderate non-violative content).

      As to “significant encouragement,” the district court misunderstood that phrase

from Blum to mean any action by the government that made the platform more likely

to engage in content moderation. By stating that private action becomes government

action whether brought about by “coerci[on]” or by “significant encouragement,” Blum,

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457 U.S. at 1004, the Supreme Court did not make “significant encouragement” a lesser

alternative to coercion; it merely recognized that offers of “positive incentives” (signif-

icant encouragement), just like threats of negative consequences (coercion), could over-

whelm a private party’s independent judgment. O’Handley, 62 F.4th at 1157-1158. The

government did neither here.

      Finally, the district court erred in invoking the doctrine of joint participation,

which requires a governmental action that “enhanced the power of the harm-causing

individual actor.” NCAA v. Tarkanian, 488 U.S. 179, 192 (1988). There was no such

governmental action here; the government merely “flagged” misinformation just as any

member of the public could have done. Cf. Howard Gault Co. v. Texas Rural Legal Aid,

Inc., 848 F.2d 544, 555 (5th Cir. 1988) (joint action where public officials supplied “re-

sources would not have been available to litigants operating in a purely private capac-

ity”). The Cybersecurity and Infrastructure Security Agency (CISA), for example,

merely shared with social-media companies information that state or local election of-

ficials (including officials from plaintiffs Louisiana and Missouri) had flagged as “disin-

formation aimed at their jurisdiction,” A68. That cannot plausibly be regarded as trans-

forming any actions that the platforms take into governmental actions, thus subjecting

the platforms’ private conduct to First Amendment scrutiny. The Ninth Circuit reached

that natural conclusion in O’Handley, holding that there was no joint participation when

Twitter gave the State of California access to a “Partner Support Portal” used to “flag[]

for Twitter’s review posts that potentially violated the company’s content-moderation

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policy.” 62 F.4th at 1160. As the court explained—in logic that applies equally here—

the State merely “supplied] Twitter with information,” which Twitter could “decide[]

how to utilize.” Id.

       The implications of the district court’s contrary holding are startling. Although

the court purported not to decide “whether the social-media platforms are government

actors,” A88, its decision was premised on the notion that the platforms’ content-mod-

eration decisions were coerced by the government and thus qualify as state action. See

A88-93 (relying on decisions involving suits brought against private entities alleged to

have been state actors). Were that true, plaintiffs could have secured injunctions com-

pelling platforms to restore misinformation or other content that the platforms chose

to delete. The Supreme Court recently warned against expansive state-action theories

that would “eviscerate certain private entities’ rights to exercise editorial control over

speech and speakers on their properties or platforms” by subjecting those choices “to

the constraints of the First Amendment.” Manhattan Cmty. Access Corp. v. Halleck, 139

S. Ct. 1921, 1932-1933 (2019). But the district court did not even acknowledge, much

less attempt to justify, the profoundly disruptive implications of its holding.

II.    The Equitable Factors Heavily Favor A Stay

       Independent of the merits, the district court abused its equitable discretion in

several respects.




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       A.    The Injunction Is Unnecessary To Prevent Irreparable Harm
             To Plaintiffs

       Although First Amendment injuries may be irreparable when they occur, Elrod

v. Burns, 427 U.S. 347, 373 (1976) (plurality opinion), the “invocation of the First

Amendment cannot substitute for the presence of an imminent, non-speculative irrep-

arable injury,” Google, Inc. v. Hood, 822 F.3d 212, 228 (5th Cir. 2016). A preliminary

injunction is appropriate only when “First Amendment interests are either threatened

or in fact being impaired at the time relief is sought.” Id. (quotation marks omitted).

       The district court failed to substantiate any finding that plaintiffs face ongoing

or imminent injury. Rather, the district court’s discussion of irreparable harm focused

on the voluntary-cessation exception to mootness and on two cases addressing Article

III standing. A140-142. That confuses jurisdiction with the irreparable-harm inquiry.

The court opined that plaintiffs’ fear of future injury is “not imaginary or speculative,”

A142, but even if that were correct, a preliminary injunction must be premised on a

likelihood of future injury and not merely a non-speculative risk of one, Winter v. Natural

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). The court also relied on “allegations” in

“[t]he Complaint (and its amendments),” A143-144, rather than requiring plaintiffs to

make a showing with evidence, as required at the preliminary-injunction stage, see PCI

Transp., Inc. v. Fort Worth & W. R.R. Co., 418 F.3d 535, 546 (5th Cir. 2005).

       The district court identified no evidence to support a finding that plaintiffs are

likely to face irreparable harm in the absence of an injunction, nor did it render such a


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finding. Instead, the court merely opined that, although “some of the alleged conduct”

has “stop[ped]” in light of the new phase of the national response to the pandemic,

A140, the government would “likely” continue to seek to influence social-media com-

panies on other subjects. A143-144. But that is not a finding that these plaintiffs are likely

to suffer harm: There is no reason to believe that plaintiffs face a threat of imminent

injury from any effort the government might hypothetically make to address social-

media content concerning “gas prices,” “climate change,” “gender,” or “abortion,” id.

       B.     The Injunction Sweeps More Broadly Than Necessary To
              Remedy Plaintiffs’ Asserted Injuries

       The district court compounded its error by failing to explain why an injunction

of such sweeping breadth would be necessary to remedy plaintiffs’ harms.

       Article III requires that “[a] plaintiff ’s remedy must be tailored to redress the

plaintiff ’s particular injury.” Gill v. Whitford, 138 S. Ct. 1016, 1933-1934 (2018). Princi-

ples of equity reinforce that jurisdictional limitation: Injunctive relief may “be no more

burdensome to the defendant than necessary to provide complete relief to the plain-

tiffs,” Califano v. Yamasaki, 442 U.S. 682, 702 (1979); see Texas, 599 U.S. at __, 2023 WL

4139000, at *12-13 (Gorsuch, J., concurring in the judgment).

       The injunction here flouts these principles. It indiscriminately targets defendant

agencies and their employees; for example, it covers the entire Department of Home-

land Security and Department of Health and Human Services even though the court

found a constitutional violation only with respect to one DHS component (CISA) and


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purported to deny the injunction as to the Food and Drug Administration within HHS,

A161. And it covers communications with all social-media platforms and communica-

tions regarding all posts by anybody (not just plaintiffs) on all topics.

       The district court did not even attempt to justify that breathtaking scope of relief,

except to suggest in denying a stay that including entire agencies was appropriate even

if some subcomponents had nothing to do with the challenged conduct because agen-

cies could otherwise “simply instruct a sub-agency to perform the prohibited acts and

avoid the consequences of an injunction.” A2006. That abuse of discretion alone jus-

tifies a stay. At a minimum, this Court should stay the injunction to the extent it extends

beyond government action specifically targeting content posted by plaintiffs them-

selves. An injunction so limited would largely or entirely eliminate any irreparable harm

that plaintiffs might face without burdening a vast universe of government actions lack-

ing any connection to plaintiffs.

       C.     The Injunction Lacks The Required Specificity

       The injunction equally fails to satisfy Federal Rule of Civil Procedure 65(d)’s re-

quirement that an injunctive order “state its terms specifically” and “describe in reason-

able detail … the act or acts restrained or required.” “‘[A]n ordinary person reading the

court’s order should be able to ascertain from the document itself exactly what conduct

is proscribed.’” Louisiana v. Biden, 45 F.4th 841, 846 (5th Cir. 2022).

       This injunction fails that test in numerous respects. For example, suppose the

CDC notices that influential social-media accounts are posting a false story that the

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measles vaccine causes cancer. Can the CDC issue a public statement refuting the story,

or would that be “urging, encouraging, pressuring, or inducing” the platforms to mod-

erate the content, A159? Can it even answer unsolicited questions from platforms

about whether the story is false, or would an affirmative answer to that question be

“inducing” the removal of the story if the platforms’ policies call for the removal of

falsehoods?

      The injunction’s carveouts exacerbate its vagueness. For example, the district

court apparently recognized (though it did not explain) that the government must en-

gage with social-media companies to protect “public safety” and “national security” and

that the government is entitled to speak on matters of public concern. But the court

left those carveouts’ essential terms undefined—along with numerous other key terms,

such as “permissible” government speech, “criminal” activity, and “malicious cyber ac-

tivity.” And the carveouts are even less clear in light of the opinion. The court held,

for example, that CISA violated the First Amendment when it conveyed to social-media

companies information that state or local election officials had flagged as “disinfor-

mation aimed at their jurisdiction,” A68. But the injunction purports to allow commu-

nications “informing social-media companies of postings intending to mislead voters

about voting requirements and procedures.” A161. An official subject to the injunction

could not possibly reconcile those statements.




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       D.     Unless Stayed, The Preliminary Injunction Will Irreparably
              Harm The Government And Undermine The Public Interest

       Finally, the injunction will cause the government and thus the public to suffer

irreparable injury. See Nken, 556 U.S. at 435 (harms to government and public “merge”).

       As discussed, one of the central constitutional duties and prerogatives of the

President and his senior officials is to speak about harms in the world and ways of

addressing those harms, and Executive Branch officials must have latitude to do so

forcefully at times. But the injunction subjects many such communications to a risk of

contempt. Consider, for example, a hypothetical statement from the White House po-

dium that the President denounces misinformation about a recent natural disaster cir-

culating online and urges platforms not to disseminate those falsehoods. That state-

ment might be seen to “encourag[e] … social-media companies to change their guide-

lines for” content moderation, or “pressur[e]” them to moderate content, A159. Even

the potential for the injunction to be construed as limiting the communication of the

President’s views regarding issues of public consequence raises grave separation-of-

powers concerns, thereby inflicting irreparable harm on a coordinate Branch. See INS

v. Legalization Assistance Project of the L.A. Cty. Fed’n of Labor, 510 U.S. 1301, 1305-1306

(1993) (O’Connor, J., in chambers); cf. Maryland v. King, 567 U.S. 1301, 1303 (2012) (bar-

ring a sovereign from “employ[ing] a duly enacted statute to help prevent … injuries

constitutes irreparable harm”).




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       The injunction’s more mundane effects are also harmful. The district court ap-

peared to contemplate that the CDC could no longer answer inquiries from platforms

about scientific matters to allow platforms to make informed content-moderation de-

cisions. Federal law-enforcement agencies would likewise need to tread carefully in their

interactions with social-media companies, potentially eschewing communications that

protect national security, public safety (e.g., communications about the fentanyl crisis),

or the security of federal elections, lest they fall outside the injunction’s exceptions. For

example, particularly in the early stages of an investigation, federal law enforcement

officials may need additional information to determine whether a social media post

involves unprotected criminal activity (such as a true threat). But the injunction leaves

them guessing what quantum of certainty they must possess before they can inform

social-media companies about the post, potentially leading to disastrous delays.

       Even when a district court has concluded that plaintiffs are likely to establish a

constitutional violation, it cannot enjoin governmental conduct without considering the

injunction’s countervailing harms to the public interest. Winter, 555 U.S. at 32; Defense

Distributed v. U.S. Dep’t of State, 838 F.3d 451 (5th Cir. 2016) (affirming denial of a pre-

liminary injunction based on balance of harms). The court abused its discretion by

failing to conduct that balancing, and it would equally have abused its discretion had it

determined that the profound harms this injunction will cause to the government and

the public interest would be outweighed by its benefit to plaintiffs.



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                                       CONCLUSION

       The preliminary injunction should be stayed pending appeal. At a minimum, the

Court should stay the injunction to the extent it extends beyond actions specifically

targeting content posted by plaintiffs. This Court should also grant an immediate ad-

ministrative stay to permit the orderly briefing and disposition of this motion. And if

the Court declines to grant a longer stay, it should at a minimum stay the injunction for

ten days to permit the Supreme Court to consider an application for a stay, should the

Solicitor General elect to file one.

                                               Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Federal Rule of Appellate Procedure 32(g), I certify that this motion

complies with Federal Rule of Appellate Procedure 27(d)(1)(E) because it has been

prepared in 14-point Garamond, a proportionally spaced font, and that it complies with

the type-volume limitation of Federal Rule of Appellate Procedure 27(d)(2)(A) because

it contains 5,199 words, according to Microsoft Word.

      I further certify that this emergency motion complies with the requirements of

Fifth Circuit Rules 27.3 and 27.4 because it was preceded by telephone calls to the

Clerk’s Office and to the offices of opposing counsel, advising of our intent to file it.

Plaintiffs intend to file an opposition. I further certify that the facts supporting emer-

gency consideration of this motion are true and complete.


                                                /s/ Daniel Winik
                                                Daniel Winik
